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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA

                                    JACKSONVILLE DIVISION

ASAP TREE SERVICE LLC,                                   CASE NO.: 3:21-CV-961 -TJC-JBT


        Plaintiff,

vs.

L.A. DISASTER RELIEF, LLC,

      Defendants.
______________________________/

                                  SUMMONS IN A CIVIL ACTION

TO:     L.A. DISASTER RELIEF, LLC
        KYLE E. ADAMS, its Registered Agent
        102 Whispering Pines Trail
        INTERLACHEN, FL 32148

        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must
be served on the plaintiff or plaintiff’s attorney, whose name and address are:

                                         Brian H. Pollock, Esq.
                                         FairLaw Firm
                                         135 San Lorenzo Avenue
                                         Suite 770
                                         Coral Gables, FL 33146
                                         Tel:    (305) 230-4884
                                         brian@fairlawattorney.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

Date: September 28, 2021                                 CLERK OF COURT
                                                                        KerriHatfield
                                                         ____________________________
                                                         Signature of Clerk or Deputy Clerk
Civil Action No.:
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                                           PROOF OF SERVICE
     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

       This summons for (name of individual and title, if any)_______________________________________________was
received by me on (date)                                       .

       ␣      I personally served the summons on the individual at (place) ______________________________
              _______________________________,                                 on (date)_____________________; or

       ␣      I left the summons at the individual’s residence or usual place of abode with (name) _____________
              ____________________________________________________, a person of suitable age and discretion
              who resides there,                                      on (date)                       , and mailed
              a copy to the individual’s last known address; or

       ␣      I served the summons on (name of individual)___________________________________________________
              designated by law to accept service of process on behalf of (name of organization) _________________
              ____________________________________________on (date) _____________________________; or

       ␣      I returned the summons unexecuted because _______________________________________; or

       ␣      Other (specify):

                                                                                                            .

       My fees are $_________for travel and $____________for services, for a total of $___________

I declare under penalty of perjury that this information is true.

Date:______________                              _______________________________________
                                                            Server’s Signature

                                                 _______________________________________
                                                            Printed Name and Title

                                                 _______________________________________
                                                            Server’s address

Additional information regarding attempted service, etc:
